     Case 1:25-cv-00418-CJN          Document 17-12        Filed 02/24/25     Page 1 of 3




           DECLARATION OF MARIANIS NAZARETH GUILARTE TOBAR

I, Marianis Nazareth Guilarte Tobar, hereby declare under penalty of perjury pursuant to 28
U.S.C. § 1746 that the following is true and correct:

   1. I make this declaration based on my personal knowledge. If called to testify, I could and
      would do so competently and truthfully.

   2. My name is Marianis Nazareth Guilarte Tobar. I currently live in San Antonio, Texas. I
      am the wife of Sergio Gabriel Guevara-Varguillas, a 30-year-old from Venezuela.

   3. I am providing this declaration because my husband has been transferred to Guantánamo
      Bay, Cuba, and I am deeply concerned about his well-being. Sergio and I have a nine-
      month-old U.S. citizen daughter and he also has a 12-year-old daughter in Venezuela.
      The children and I need Sergio, and we need to know how he is doing.

   4. Sergio and I entered the United States on September 28, 2023. We were separated upon
      entry—I was processed with other women, and he was later released in Del Rio, Texas.
      After being released, we went to live in San Antonio, Texas and welcomed our daughter
      into the world.

   5. On September 18, 2024, while his friend was driving, Sergio was stopped by police.
      Instead of receiving a traffic violation, he was taken into immigration custody and
      booked into Pearson Detention Center on September 19, 2024.

   6. Sergio did not have an immigration attorney because we could not afford one. We have a
      small child and were trying to meet basic expenses. We were supposed to meet with an
      attorney two days after Sergio was taken into ICE custody. because Sergio was in
      detention and could not work, and I had to support our daughter, Sergio ended up getting
      a final order of removal on November 18, 2024.

   7. Sergio and I were in regular contact while he was detained. When he was in Pearson, we
      spoke every day. After his transfer to El Paso, we were only able to speak every three
      days because he was not allowed to call more frequently.

   8. Sergio was extremely worried about our family, especially about leaving our baby and
      me alone. He repeatedly told me he could not believe he had to be away from us.

   9. He was also afraid of being sent to Guantánamo, although I do not know if he was
      directly threatened with that possibility. The last thing he told me was that he was
      expecting to be deported to Mexico.

   10. Sergio and I last spoke on February 6, 2025. The next day, I reached out to a friend
       whose husband was detained at the same detention center, but she told me he was no
       longer there. At first, I thought he might have been deported to Venezuela. I immediately
       started trying to get more information. I called the ICE hotline multiple times over three
     Case 1:25-cv-00418-CJN          Document 17-12        Filed 02/24/25     Page 2 of 3




       days but was given conflicting answers. At one point, an agent told me Sergio had been
       transferred to Florida, but when I kept calling, no one answered or gave me any further
       details.

   11. I also asked Sergio’s mother, his brother, and his brother’s wife to call on his behalf.
       After repeated attempts, one agent eventually told them that Sergio could no longer have
       contact or receive visitation. A few days later, I saw his name on a list circulating on
       TikTok that showed people transferred to Guantánamo Bay.

   12. Sergio has never been involved in any gang activity. However, while detained at Pearson,
       officers accused him of being part of Tren de Aragua and pressured him multiple times to
       admit it. He refused every time because it is not true. Sergio does have tattoos, but they
       are not gang related. He has never been charged with or convicted of a crime, in either
       Venezuela or the United States.

   13. If Sergio is being held at Guantánamo, I want him to have a lawyer who can help him
       fight his detention and explore any legal options available. I understand that there are
       legal organizations in this case who would offer Sergio services, and I would like them to
       represent him if they are able to communicate with him. I believe that it would be in my
       husband’s best interest to have this legal representation. I also believe it is in my
       husband’s best interest to be returned to the United States from Guantánamo.

   14. Everything in this statement is true to the best of my knowledge. This declaration was
       read back to me in Spanish, a language I understand.


Executed on the 20th day of February, 2025 at San Antonio, Texas.




Marianis Nazareth Guilarte Tobar
      Case 1:25-cv-00418-CJN          Document 17-12         Filed 02/24/25      Page 3 of 3




                             CERTIFICATE OF TRANSLATION

       I, Ana Sofia Barrios, certify that I am fluent in both English and Spanish. On February

20th, 2025, I personally spoke with Marianis Nazareth Guilarte Tobar and read the foregoing

declaration to her, translated into Spanish faithfully and accurately, over the phone. Ms. Guilarte

Tobar affirmed that she understood my translation and that the information in the above

declaration is true and accurate.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.




_______________________________
Ana Sofia Barrios
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